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 7
 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                               WESTERN DIVISION
11
12    UNITED STATES OF AMERICA,              Case No. 17 Cr. 697 SJO
13                                           USCA No. 19-50300
                     Plaintiff/Appellee,
14
            v.                               [PROPOSED] ORDER RE:
15                                           UNSEALING OF MATERIALS TO
                                             APPELLATE COUNSEL
16
      DANIEL FLINT,

17                                           Before the Hon. S. James Otero
                     Defendant/Appellant.    United States District Judge
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 1         Based upon the stipulation of the parties, and for good cause shown, IT IS
 2   HEREBY ORDERED THAT the documents set forth below, which are currently
 3   under seal, shall be unsealed for the limited purpose of providing them to
 4   Defendant/ Appellant Daniel Flint’s counsel of record, Ethan A. Balogh:
 5         • ECF Nos. 68, 69, 86 & 87.
 6         IT IS FURTHER ORDERED that the Clerk of the Court provide access to
 7   the nonpublic docket to defendant’s appellate counsel. This access will allow
 8   counsel assess any need to inspect ECF Nos. 3, 70, 75, 76, 88, 145, 146, 155, 164,
 9   and 172, none of which appear on the public docket.
10         IT IS FURTHER ORDERED that if defendant uses or relies on any of these
11   documents in his appeal, he must either (a) provide those documents to the
12   Government; or (b) if defendant believes there is a basis to not disclose the
13   materials to the Government, then he will engage in a meet and confer with the
14   Government to discuss his position so that the Government may then seek an
15   Order for their disclosure if the parties cannot reach an agreement.
16         IT IS FURTHER STIPULATED that the foregoing materials shall be
17   unsealed only for the limited purpose of providing them to Appellant’s counsel, to
18   be reviewed on an Attorney’s Eyes Only (“AEO”) basis, and solely for counsel’s
19   use in the above-captioned appeal, and that these materials shall remain sealed for
20   all other purposes, including from the public, and that any submission of these
21   materials to the Court of Appeals must be made under seal.
22         IT IS SO ORDERED
23                 16
     DATED: January__, 2020
24                                          THE HONORABLE S. JAMES OTERO
                                            UNITED STATES DISTRICT JUDGE
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